Case 2:85-cv-04544-DMG-AGR Document 595 Filed 07/11/19 Page 1 of 20 Page ID
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   IRUWKHIDFLOLWLHVLQZKLFKLPPLJUDQWFKLOGUHQPD\EHFRQILQHGLQFOXGLQJ
   UHTXLUHPHQWVWKDWWKHVHFKLOGUHQEHSODFHGLQVDIHDQGVDQLWDU\IDFLOLWLHVZKLOHLQ
   &%3FXVWRG\7KHIHGHUDOJRYHUQPHQWLVFOHDUO\IDLOLQJWRPHHWLWVOHJDOREOLJDWLRQV
   DQGLQGRLQJVRLVFDXVLQJORQJODVWLQJSK\VLFDODQGPHQWDOKDUPWRYXOQHUDEOH
   FKLOGUHQZKLFKZLOOLQWXUQPDNHLWPRUHGLIILFXOWIRUWKH$PLFL6WDWHVWRSURYLGH
   IRUWKHKHDOWKHGXFDWLRQDQGZHOOEHLQJRIFKLOGUHQZKRFRPHWRUHVLGHLQRXU
   FRPPXQLWLHV
           7KHUHIRUH$PLFL6WDWHVYLJRURXVO\REMHFWWRWKHIHGHUDOJRYHUQPHQW¶V
   GHVSLFDEOHDQGLQKXPDQHWUHDWPHQWRILPPLJUDQWFKLOGUHQDWERUGHUKROGLQJ
   IDFLOLWLHV)RUWKHIROORZLQJUHDVRQV$PLFL6WDWHVXUJHWKH&RXUWWRJUDQW
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   Unaccompanied Alien Children Released to Sponsors by State ODVWYLVLWHG-XO\
       KWWSVZZZDFIKKVJRYRUUUHVRXUFHXQDFFRPSDQLHGDOLHQFKLOGUHQ
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    UHTXLUHVWKDWGHWDLQHGFKLOGUHQEHSODFHG³LQWKHOHDVWUHVWULFWLYHVHWWLQJDSSURSULDWH
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   WRDSDUHQWJXDUGLDQDGXOWUHODWLYHDGXOWGHVLJQDWHGE\WKHSDUHQWDOLFHQVHG
   SURJUDPRUDQRWKHUDGXOWGHHPHGDSSURSULDWHVRORQJDVFRQWLQXHGGHWHQWLRQLVQRW
   QHFHVVDU\WRVHFXUHWKHFKLOG¶VWLPHO\DSSHDUDQFHDWWKHLULPPLJUDWLRQKHDULQJRUWR
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    VHJUHJDWLRQLVQRWLPPHGLDWHO\SRVVLEOHEXWXQGHUQRFLUFXPVWDQFHVPD\WKHVH
    FKLOGUHQEHGHWDLQHGIRUPRUHWKDQKRXUVZLWKDQXQUHODWHGDGXOWId
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   WRGHSORUDEOHFRQGLWLRQVRIFRQILQHPHQW&KLOGUHQZHUHSODFHGLQGHWHQWLRQFHQWHUV
   ZLWKEDUEHGZLUHIHQFHVGHSULYHGRIHGXFDWLRQUHFUHDWLRQDQGYLVLWDWLRQVXEMHFWHG
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   FRQWLQXHGIDLOXUHWRKROGFKLOGUHQLQIDFLOLWLHVWKDWDUHVDIHDQGVDQLWDU\WKXVYLRODWHV
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   EDVLFQHFHVVLWLHVDQGUHYHUWLQJEDFNWRV\VWHPDWLFFRQGLWLRQVVLPLODUWRRUDUJXDEO\
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      FRQGLWLRQVXQGHUZKLFKWKHIHGHUDOJRYHUQPHQWLVKROGLQJLPPLJUDQWFKLOGUHQLQ
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                  &HGDU$WWDQDVLRHWDOLawyers: 250 children held in bad conditions at
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    KDGQRWVKRZHUHGRUEDWKHGRUEHHQJLYHQDFOHDQFKDQJHRIFORWKHVVLQFHDUULYLQJ
    DWWKHIDFLOLW\DQGWKH\KDGLQDGHTXDWHDFFHVVWRVRDSDQGWRRWKEUXVKHV&KLOGUHQ
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    LQPHGLFDOTXDUDQWLQH&KLOGUHQDV\RXQJDVVHYHQRUHLJKW\HDUVROGZHUHEHLQJ
    DVNHGWRFDUHIRUWRGGOHUVWKH\MXVWPHW$QGVRPHFKLOGUHQZKRDUULYHGZLWKD
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      KWWSVZZZWKHDWODQWLFFRPIDPLO\DUFKLYHFKLOGGHWHQWLRQFHQWHUV
   LPPLJUDWLRQDWWRUQH\LQWHUYLHZ,VDDF&KRWLQHUInside a Texas Building
      Where The Government Is Holding Immigrant Children7KH1HZ<RUNHU -XQH
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      Hungry’supraQRWH
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                  ,VDDF&KRWLQHUInside a Texas Building Where The Government Is Holding
   Immigrant Childrensupra QRWH
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                  &HGDU$WWDQDVLRHWDOAttorneys: Texas border facility is neglecting
   migrant kids$31HZV -XQH 
      KWWSVZZZDSQHZVFRPGDGEHIDGEEFIEFEEF
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      FRQGLWLRQVDWWKHIDFLOLW\LQFOXGLQJ³H[WUHPHFROGWHPSHUDWXUHVOLJKWVRQKRXUVD
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      7HHQPRWKHUVLQFXVWRG\ZHUHQRWDEOHWRZDVKWKHLUFKLOGUHQ¶VERWWOHVDQGFKLOGUHQ
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      IDFLOLW\OHGWRILYHLQIDQWVEHLQJKRVSLWDOL]HG6HUHQD0DUVKDOHWDODoctor
   compares conditions for unaccompanied children at immigrant holding centers to
      ‘torture facilities’$%&1HZV -XQH 
   KWWSVDEFQHZVJRFRP3ROLWLFVGRFWRUFRPSDUHVFRQGLWLRQVLPPLJUDQWKROGLQJ
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     +RPHODQG6HFXULW\ '+6 SXEOLVKHGRQ-XO\XUJHG'+6³WRWDNH
     immediate stepsWRDOOHYLDWHGDQJHURXVRYHUFURZGLQJDQGSURORQJHGGHWHQWLRQRI
     FKLOGUHQDQGDGXOWVLQWKH5LR*UDQGH9DOOH\´7KHUHSRUWVSHFLILFDOO\IRXQGWKDW
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    RYHUFURZGHGKROGLQJURRPVZLWKRUPRUHXQUHODWHGDGXOWVDQGFKLOGUHQZKR
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    WKH\DUHLQWHPSRUDU\FXVWRG\In Chambers – Order re Pls.’ Mot. to Enforce
    Settlement of Class Action and Defs.’ Mot. to Amend Settlement Agreement1R
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       Management Alert – DHS Needs to Address Dangerous Overcrowding and
    Prolonged Detention of Children and Adults in the Rio Grande Valley2,*
       DW -XO\  HPSKDVLVDGGHG 
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                    Id. DW
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                                                                    $SSOLFDWLRQIRU7HPSRUDU\5HVWUDLQLQJ2UGHU
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     GULQNLQJZDWHU²ZHUHDYLRODWLRQRIWKH6HWWOHPHQW$JUHHPHQWIn Chambers –
     Order re Pls.’ Mot. To Enforce and Appoint a Special Monitor1RFY
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     WKDWK\JLHQHSURGXFWVVXFKDVVRDSWRZHOVVKRZHUVGU\FORWKLQJDQGWRRWKEUXVKHV
     IHOOZLWKLQWKHUXEULFRIWKH6HWWOHPHQW$JUHHPHQW¶VVDIHDQGVDQLWDU\VWDQGDUGId
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     DQGXQVDQLWDU\LQYLRODWLRQRIWKH6HWWOHPHQW$JUHHPHQWWKHIHGHUDOJRYHUQPHQW
     FRQWLQXHVWRKROGYXOQHUDEOHFKLOGUHQXQGHUWKHVHVDPHLQKXPDQHFRQGLWLRQVLQ
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    DOVRSURWHFWWKHVHFKLOGUHQ¶VIXQGDPHQWDOOLEHUW\LQWHUHVWVDVHQVKULQHGLQWKH)LIWK
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       YXOQHUDEOHDQGGHIHQVHOHVVFKLOGUHQZKLFKUHQGHUVWKHGHSULYDWLRQVHYHQPRUH
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       FRQILQHWKHLQYROXQWDULO\FRPPLWWHG²ZKRPD\QRWEHSXQLVKHGDWDOO²LQXQVDIH
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     PHGLFDOFDUHGRFXPHQWHGE\3ODLQWLIIVZRXOGUDLVHVHULRXVFRQVWLWXWLRQDOTXHVWLRQV
     XQGHUWKDWVWDQGDUGSee, e.g.Foster v. Runnels)G WK&LU
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     JRYHUQPHQWLVFLYLOO\GHWDLQLQJLQQRFHQWFKLOGUHQLQFRQGLWLRQVOLNHWKRVHWKDW
     FRXUWVKDYHGHFODUHGXQFRQVWLWXWLRQDOO\FUXHODQGXQXVXDOIRUDGXOWVLPSULVRQHGIRU
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    FRQFHUQLQJFKLOGUHDULQJZKLFKRWKHUFDVHVKDYHUHFRJQL]HGDVHQWLWOHGWR
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       $WWDQDVLRHWDOLawmakers Decry Perilous Federal Lockups for Migrant Kids$3
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    Border Policy Is Debatable. Soap for Migrant Children Shouldn’t Be, +RXV&KURQ
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                    &ROOHHQ.UDIWAmerican Association of Pediatrics Statement Opposing the
       Border Security and Immigration Reform Act$P$VV¶QRI3HGLDWULFV -XQH
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                    /LQWRQHWDO&RXQFLORQ&RPPXQLW\3HGLDWULFV Detention of Immigrant
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       DXWRSV\LQGH[KWPO$PLU9HUDAutopsy determines 7-year-old Guatemalan girl
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           Commonwealth of Massachusetts                 State of Connecticut
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        Attorney General                              Attorney General
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